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l                            IN THE UNITED STATES DISTRICT COUR                                                            ..     I '. ; 'l
                           FOR THE SOUTHERN DISTRICT OF NEW YO                                          NOV 2 f ~Ult              L--- '\

     RICHARD DENNIS, SONTERRA CAPITAL MASTER                                      1-"'"'nwno,l'l"'T,'"ln"i               CHAMBERS
     FUND, L'ID., FRONTPOINT FINANCIAL SERVICES                                    JUDGE KAPEAN'S
     FUND, LP., FRONTPOINT ASIAN EVENT DRIVEN
     FUND, L.P., AND FRONTPOINT FINANCIAL HORIZONS
     FUND, L.P., on behalf of themselves and all others smularly
     situated,                                                        Docket No. l 6-cv-06496 (LAK)



                                                        Plaintiffs,

                               -aga1nst-

     JPMORGAN CHASE & CO.,JPMORGAN CHASE BANK,
     N.A.,JPMORGAN CHASE BANK, N.A. AUSTRALIA
                                                           [11-R@POSIZ~ ORDER
     BRANCH, BNP PARIBAS, S.A., BNP PARIBAS, AUSTRALIA   GRANTING CONDITIONAL
     BRANCH, THE ROYAL BANK OF SCOTLAND GROUP           CLASS CERTIFICATION FOR
     PLC, THE ROYAL BANK OF SCOTLAND PLC, RBS N.V.,     PURPOSES OF CLASS ACTION
     RBS GROUP (AUSTRALIA) PlY LIMITED, CBS AG, UBS        SETTLEMENT WITH
     AG, AUSTRALIA BRANCH, AUSTRALIA AND NEW           JPMORGAN CHASE & CO. AND
     ZEALAND BANKING GROUP L'ID., COMMONWEALTH         JPMORGAN CHASE BANK. N.A.
     BANK OF ACSTRALIA, NATIONAL AUSTRALIA BANK
     LIMITED, WESTPAC BANKING CORPORATION,
     DEUTSCHE BANK AG, DEUTSCHE BANK AG,
     AUSTRALIA BRANCH, HSBC HOLDINGS PLC, HSBC
     BANK ACSTRALIA LIMITED, LLOYDS BANKING GROUP
     PLC, LLOYDS BANK PLC, LLOYDS TSB BANK PLC,
     ACSTRALIA, MACQUARIE GROUP L1D., MACQUARIE
     BANK LTD., ROYAL BANK OF CANADA, RBC CAPITAL
     MARI<:.ETS LLC, ROY AL BANK OF CANADA, ACSTRALIA
     BRANCH, MORGAN STANLEY, MORGAN STANLEY
     AUSTRALIA LIMITED, CREDIT SUISSE GROUP AG,
     CREDIT SUISSE AG, ICAP PLC, ICAP AUSTRALIA PlY
     LTD., TULLETr PREBON PLC, TULLETT PREBON
     (ACSTRALIA) PlY LTD., AND JOHN DOES NOS. 1-50.
                                                     Defendants.
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                     This putative class action comes before the Court on Plaintiffs' Unopposed Motion for

            Conditional Class Certification ("Motion") and on the Stipulation and Agreement of Settlement as

            to Defendants JPMorgan Chase & Co. and JPMorgan Chase Bank, N.A. ("JPMorgan") dated

            November 20, 2018 ("Settlement Agreement") entered mto by Representative Plaintiffs and

            JPMorgan in the above-entitled action ("Action"). The Court has reviewed the Motion and the

            Settlement Agreement, and attached exhibits, which set forth the terms and conditions for a

            proposed settlement of and for dismissal of the Action with prejudice as against JPMorgan upon the

            terms and conditions set forth therein; and the Court having read and considered the Stipulation and

            the attached exhibits finds that the Motion ls due to be granted.

                     All defined terms used in this Order shall have the same mearungs as set forth m the

            Settlement Agreement, except as otherwise defined herem. Representative Plaintiffs and JPMorgan

            are referred to collectively as the "Settling Parties."

                     NOW, THEREFORE, IT IS HEREBY ORDERED that:

                     1.       For purposes of settlement only, pursuant to Fed. R. Civ. P. 23(a) and (6)(3), the

            Court hereby certifies a Settlement Class consisting of all Persons (other than those Persons who

            timely and validly request exclusion from the Settlement Class m accordance with the reqwrements

            set forth herein) who purchased, sold, held, traded, or otherwise had any interest in BBSW-Based

            Derivatives 1 durmg penod January 1., 2003 through December 31, 2012 ("Class Period"), provided

            that, 1f Representative Plaintiffs expand the Class in any subsequent amended complaint, class
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                        1 "BBSW-Based Denvatives" means (1) a BBSW-based mterest rate swap entered mto by a U.S. Person, or by a

            Person from or through a locatton w1th1n the U.S.; (11) an option on a BBSW-based mterest rate swap ("swaptton")
            entered mto by a CS. Person, or by a Person from or through a location withm the U.S., (ill) a BBSW-based forward
            rate agreement entered mto by a U.S. Person, or by a Person from or through a location within the C.S; (1v) an
            .'\.ustralian dollar currency forward agreement entered mto by a U.S. Person, or by a Person from or through a location
\           w1thm the U.S., (v) an Australian dollar futures contract on the Chicago Mercanttle Exchange ("CME"); (V!) an
            Australian dollar foreign exchange forward entered mto by a U.S. Person, or by a Person from or through a location
            Wlthrn the US.; and/or (Vll) 90-day Bank Accepted Bill futures contracts on the Australian Secunties Exchange entered
            mto by a C.S. Person, or by a Person from or through a location Wlthm the U.S.



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motion, or settlement, the defined Class in this Agreement shall be expanded so as to be

coterminous with such expansion.            Excluded from the Settlement Class are the Defendants (as

defined in the Settlement Agreement) and any parent, subsidiary, affiliate or agent of any Defendant

or any co-conspirator whether or not named as a Defendant, and the Uruted States Government.

Notwithstanding the sentence above that "[e]xcluded from the Settlement Class are the Defendants

(as defined in the Settlement Agreement) and any parent, subsidiary, affiliate or agent of any

Defendant or any co-conspirator whether or not named as a Defendant, and the Uruted States

Government," and solely for purposes of this Settlement and this Settlement Class, Investment

V ehicles2 are not to be excluded from the Settlement Class solely on the basis of being deemed to be

Defendants or affiliates or subsidiaries of Defendants. I Iowever, to the extent that any Defendant

or any entity that might be deemed to be an affiliate or subsidiary thereof (i) managed or advised,

and (ii) directly or indirectly held a beneficial interest in, said Investment Vehicle during the Class

Period, that beneficial interest in the Investment Vehicle is excluded from the Settlement Class.

         2.       Solely for the purposes of effectuating the Settlement, the Court finds and concludes

that the reqmrements of Fed. R. Civ. P. 23(a) and 23(b)(3) have been satisfied as follows:

                  (a)      the members of the Settlement Class are so numerous that joinder of all class

                           members is impracticable;

                  (b)      there are quesuons of law and fact common to the Settlement Class which

                           predominate over any individual questions;

                  (c)      the clauns of the Representative Plaintiffs are typical of the claims of the

                           Settlement Class;

                  (d)      Representative Plaintiffs and Class Counsel will fairly and adequately

          2 "Investment Vehicles" means any investment company, separately managed account or pooled investment

fund, including, but not luruted to· (1) mutual fund families, exchange-traded funds, fund of funds and hedge funds; and
(11) employee benefit plans



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                              represent and protect the interests of all of the Settlement Class Members;

                              and

                      (e)     a class action is superior to other available methods for the fair and efficient

                              adjudication of the controversy.

             3.       If for any reason the Effective Date of the Settlement, as defined 1n Section 1(Q) and

     Section 18 of the Settlement Agreement, does not occur, the Settlement Agreement, including any

     amendment(s) thereof, and this Order conditionally certifying the Settlement Class solely for purposes of

     the Settlement shall, without the need for further action by the Court or either of the Settling Parties, be

     null and void, of no further force or effect, and without prejudice to any party, and may not be

     introduced as evidence or referred to in any actions or proceedmgs by any person or entity. Each party

     shall be restored to hls, her or lts respective position as it existed as of June 5, 2018.             In such

     circumstances, each of the Setthng Parties shall retain its currently existing rights to seek or to object to

     the certification of this litigation as a class action under Fed. R. Civ. P. 23, or any state or federal rule,

     statute, law, or provision, and to contest and appeal any grant or derual of certification in thls litigation or

     in any other litigation on any other grounds.

             4.       The Court app01nts Lowey Dannenberg, P.C. and Lovell Stewart Halebian Jacobson
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     LLP as Class Counsel to such Settlement Class for purposes of the Settlement, having determined

     that the requirements of Rule 23(g) of the Federal Rules of Civtl Procedure are fully satisfied by this

     appointment.

             5.       The Court appoints Ciubank N.A. as Escrow Agent for purposes of the Settlement

     Fund defined in the Settlement Agreement. The Court preliminarily approves the establishment of

     the Settlement Fund as qualified settlement funds pursuant to Section 468B of the Internal Revenue

     Code of 1986, as amended, and the Treasury Regulations promulgated thereunder.

             6.       Richard Dennis, Sonterra Capital Master Fund, Ltd., FrontPoint F1nancial Services


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     Fund, LP., FrontPoint Asian Event Driven Fund, LP., ProntPoint Financial Horizons Fund, L.P.,

     and Fund Liquidation Holdings, LLC will serve as representatives of such Settlement Class for

     purposes of the Settlement.

            7.       The timing, plan, and forms of the Class Notice to the Settlement Class and the date

     of the Fairness Hearing before this Court to consider any member(s) of the Settlement Class's

     obiections to final approval of the Settlement and to consider the fairness, adequacy and




     separne order of this Court.bf!k <A.~-
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     reasonableness of the proposed Settlement and Settlement Agreement shall all be determined by

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                   At a later date, C ss Counsei shall submit for the Court's approval a proposed plan
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                                                                                                            /'t.,..__

     of distribution of the Settlement Fund.

            9.       This civil action was commenced after Pebruary 18, 2005.         The Court directs

     JPMorgan to notify the appropriate Federal and State officials under the Class Action Fairness Act

     of 2005, 28 C.S.C. § 1715 ("CAFA").         Counsel for JPMorgan shall, at or before the Fairness

     I I earing, file with the Court proof of compliance with CAF A.

             10.     All proceedings in the Action as to JPMorgan, other than proceedings as may be

     necessary to implement the proposed Settlement or to effectuate the terms of the Settlement

     Agreement, are hereby stayed and suspended until further order of this Court.               Pending

     determination of whether the Settlement should be approved, Representative Plaintiffs, Class

     Counsel and Settlement Class Members are barred and enjoined from commenc1ng or prosecuting

     any Released Cla1ms against any of the Released Persons.

             11.     Neither this Order, the Settlement Agreement, the Settlement contained therein, nor

     any act performed or document executed pursuant to or m furtherance of the Settlement Agreement

     or Settlement, whether or not the Settlement shall become final, is or shall be deemed or construed

     to be an adrmss1on, adjudication, or evidence of (i) any v10lation of any statute or law or of the


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vahdity of any claims, alleged wrongdoing, or liability of JPMorgan or any Released Party; (ii) the

incurrence of any damage, loss, or injury by Representative Plaintiffs or any Person; (iii) the

existence or amount of any artificiality; (iv) any fault or omission of JPMorgan in any civtl, criminal,

or administrative proceeding in any court, administrative agency, or other tribunal; or (v) the

propnety of certification of a class other than solely for purposes of the Settlement. Further, neither

this Order, the Settlement Agreement, nor the Settlement contained therein, whether or not the

Settlement shall become final, nor any negotiations, documents and discuss10ns associated with

them, nor the Final Approval Order and Final Judgment, may be discoverable or used directly or

indirectly, in any way, whether in the Action or in any other action or proceeding of any nature,

whether by the Settlement Class or any Person, except if warranted by existing law in connection

with a dispute under the Settlement Agreement or an action in which either Settlement Agreement is

asserted as a defense (in which case this paragraph does not apply). All rights of JPMorgan and

Representative Plaintiffs are reserved and retained if either Settlement does not become final in

accordance with the terms of the Settlement Agreement.

        12.     Neither this Order, the Settlement Agreement, the Settlement contained therein, nor

any act performed or document executed pursuant to or in furtherance of the Settlement Agreement

or the Settlement is or may be used as an admission or evidence that the cla1ms of Representative

Plaintiffs lacked merit in any proceeding against anyone other than JPMorgan             1n   any court,

admirustrative agency, or other tnbunal.

        13.     Except as otherwise provided herein,   1n   the event that the Settlement Agreement is

terminated, vacated, not approved, or the Effective Date fatls to occur for any reason, then the

Parties shall be deemed to have reverted to their respective status in the Action as of the Execution

Date and the Settlement Amount, and all interest earned in the Settlement Fund on that Settlement

Amount, shall be refunded, reimbursed, and repaid to the Settling Defendant to the extent provided


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    in the Settlement Agreement.

            14.     All funds held by the Escrow Agent shall be deemed and considered to be in custodial

    Jegis of the Court, and shall remain subject to the jurisdiction of the Court, until such lllne as such

    funds shall be distributed pursuant to the Settlement Agreement, returned to the Person(s) paying

    the same pursuant to the Settlement Agreement and/ or further order(s) of the Court.

            15.     If the Settlement is terminated pursuant to Section 21 of the Settlement Agreement

    or if the Settlement 1s ultimately not approved or does not become final for any reason, the Court

    will modify any existing scheduling order to ensure that the Parties will have sufficient time to

    prepare for the resumption of litigation.

            16.     The Court's conditional cert1ficat1on of the Settlement Class and appointment of

    Representative Plaintiffs as class representatlves, as provided herein is without prejudice to, or

    waiver of, the rights of any Defendant to contest any other request by Representative Plaintiffs to

    certify a class. The Court's findings in this Conditional Certification Order shall have no effect on

    the Court's ruling on any motion to certify any class in this litigation, or appoint class

    representatives, and no party may cite or refer to the Court's approval of the Settlement Class as

    binding or persuasive authority with respect to any mot10n to cerufy such cla5s or appoint class


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    ENTERED this _ _ day of _ _----='---~:::....:::---=------1-----.:;=~.,_




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